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Recipients of Notice of Electronic Filing:
aty         Richard A. Lapping          rich@trodellalapping.com
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Recipients submitted to the Claims Agent (Kroll Restructuring Administration, LLC):
intp        Jennifer L. Dodge      2512 Artesia Blvd.     Redondo Beach, CA 90278
                                                                                                       TOTAL: 1




     Case: 19-30088            Doc# 12573-3           Filed: 06/29/22     Entered: 06/29/22 15:06:27     Page 1
                                                              of 1
